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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Fred L. Nance Jr.                         )
                                          )     Case No. 20 CV 06316
        Plaintiff,                        )
                                          )     Honorable Judge: Jorge L. Alonso
                vs.                       )
                                          )     Honorable Magistrate Judge:
United States, Department of Justice,     )
Bureau of Justice Assistance, Office of   )
Justice Programs, EMAGES, Inc.,           )     Beth W. Jantz
Hattie Wash, Thomas Bradley, et al.       )
                                          )     Courtroom: 1903
                                          )
        Defendants.                       )
                                     NOTICE OF FILING

       PLEASE TAKE NOTICE THAT on May 26, 2022, Plaintiff filed his Motion for Leave
to Supplement with Exhibits, copies generated via CM/ECF system.


                                  CERTIFICATE OF SERVICE

        I, Fred L. Nance Jr. pro se plaintiff, certify on May 26, 2022, with Exhibits by causing
true and correct copies of the same to be sent to you generated via CM/ECF system.

Respectfully submitted,

/s/Fred L. Nance Jr., Pro se plaintiff
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